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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )
                                          )
           v.                             )        No. 4:15 CR 49 CDP / DDN
                                          )
RAMIZ ZIJAD HODZIC, et al.,               )
                                          )
                   Defendants.            )

           ORDER SETTING HEARING ON DEPOSITION MOTION
      IT IS HEREBY ORDERED that the joint motion of the defendants to take
foreign depositions (Doc. 448) is set for Tuesday, September 25, 2018 at 10:00 a.m.




                                               /s/ David D. Noce
                                        UNITED STATES MAGISTRATE JUDGE


Signed on September 10, 2018.
